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                                   UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF GEORGIA
                                           ATLANTA DIVISION

In re: AMERICAN UNDERWRITING SERVICES,                  §         Case No. 18-58406-SMS
       LLC                                              §
                                                        §
                                                        §
                      Debtor(s)


                                  NOTICE OF TRUSTEE’S FINAL REPORT AND
                                    APPLICATIONS FOR COMPENSATION
                                      AND DEADLINE TO OBJECT (NFR)

          Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that S. Gregory Hays,
trustee of the above styled estate, has filed a Final Report and the trustee and the trustee’s professionals have
filed final fee applications, which are summarized in the attached Summary of Trustee’s Final Report and
Applications for Compensation.
        The complete Final Report and all applications for compensation are available for inspection at the
Office of the Clerk, at the following address:

                                           1340 Richard B. Russell Bldg.
                                             75 Ted Turner Drive, SW
                                                Atlanta, GA 30303
        Please take further notice that the Court will hold an initial telephonic hearing for announcements on
Trustee's Final Report and Applications for Compensation at the following number: toll free number 833-568-
8864; Meeting ID 161 179 4270 at 10:15 a.m. on November 17, 2021 in Courtroom 1201, United States
Courthouse, 75 Ted Turner Drive, SW, Atlanta, Georgia 30303.

         Matters that need to be heard further by the Court may be heard by telephone, by video conference, or
in person, either on the date set forth above or on some other day, all as determined by the Court in connection
with this initial telephonic hearing. Please review the “Hearing Information” tab on the judge’s webpage, which
can be found under the “Dial-in and Virtual Bankruptcy Hearing Information” link at the top of the webpage for
this Court, www.ganb.uscourts.gov for more information.

         Your rights may be affected by the Court’s ruling on these pleadings. You should read these pleadings
carefully and discuss them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult one.) If you do not want the Court to grant the relief sought in these
pleadings or if you want the court to consider your views, then you and/or your attorney must attend the
hearing. You may also file a written response to the pleading with the Clerk at the address stated below, but
you are not required to do so. If you file a written response, you must attach a certificate stating when, how and
on whom (including addresses) you served the response. Mail or deliver your response so that it is received by
the Clerk at least two business days before the hearing. The address of the Clerk's Office is Clerk, U.S.
Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, Atlanta Georgia 30303. You must also mail a copy of your
response to the undersigned at the address stated below.
Date Mailed: 09/30/2021                                     By:: /s/ S. Gregory Hays
                                                                              Chapter 7 Trustee
S. Gregory Hays

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2964 Peachtree Road, NW, Ste. 555
Atlanta, GA 30305
(404) 926-0060




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                                     UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF GEORGIA
                                             ATLANTA DIVISION

In re:AMERICAN UNDERWRITING SERVICES,                       §      Case No. 18-58406-SMS
      LLC                                                   §
                                                            §
                                                            §
                       Debtor(s)


                                   SUMMARY OF TRUSTEE’S FINAL REPORT
                                   AND APPLICATIONS FOR COMPENSATION

                 The Final Report shows receipts of :                              $                        883,240.25
                 and approved disbursements of:                                    $                        527,750.09
                 leaving a balance on hand of1:                                    $                        355,490.16

            Claims of secured creditors will be paid as follows:

  Claim     Claimant            Claim Asserted         Allowed Amount of         Interim Payments to             Proposed
  No.                                                             Claim                        Date               Payment

                                                           None

                                                Total to be paid to secured creditors:          $                     0.00
                                                Remaining balance:                              $               355,490.16

            Applications for chapter 7 fees and administrative expenses have been filed as follows:
  Reason/Applicant                                                              Total           Interim          Proposed
                                                                            Requested       Payments to           Payment
                                                                                                  Date
  Trustee, Fees - S. Gregory Hays                                            42,206.43               0.00       42,206.43
  Trustee, Expenses - S. Gregory Hays                                          1,114.56              0.00         1,114.56
  Accountant for Trustee, Fees - Hays Financial Consulting,                  80,475.00               0.00       80,475.00
  LLC
  Accountant for Trustee, Expenses - Hays Financial                            1,868.29              0.00         1,868.29
  Consulting, LLC
  Charges, U.S. Bankruptcy Court                                                 350.00              0.00           350.00
  Fees, United States Trustee                                                  5,525.00              0.00         5,525.00
  Attorney for Trustee Fees (Other Firm) - Law Offices of Henry              51,640.00               0.00       51,640.00
  F. Sewell, Jr., LLC

          1The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
    earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
    receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
    account of the disbursement of the additional interest.

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  Reason/Applicant                                                      Total            Interim     Proposed
                                                                    Requested        Payments to      Payment
                                                                                           Date
  Attorney for Trustee Expenses (Other Firm) - Law Offices of             673.06            0.00          673.06
  Henry F. Sewell, Jr., LLC

                Total to be paid for chapter 7 administrative expenses:                 $           183,852.34
                Remaining balance:                                                      $           171,637.82

            Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                      Total            Interim     Proposed
                                                                    Requested        Payments to      Payment
                                                                                           Date
  Prior Chapter Trustee Compensation - S. Gregory Hays                5,024.17              0.00     5,024.17
  Prior Chapter Trustee Expenses - S. Gregory Hays                         43.68            0.00           43.68
  Prior Chapter Attorney for Trustee/DIP Fees (Other Firm) -         10,060.00              0.00    10,060.00
  Law Offices of Henry F. Sewell, Jr., LLC
  Prior Chapter Attorney for Trustee/DIP Fees (Other Firm) -         18,741.57              0.00    18,741.57
  Small Herrin, LLP
  Prior Chapter Attorney for Trustee/DIP Expenses (Other Firm)            722.31            0.00          722.31
  - Small Herrin, LLP
  Prior Chapter Accountant for Trustee Fees (Trustee Firm) -         10,790.00              0.00    10,790.00
  Hays Financial Consulting, LLC
  Other Prior Chapter Professional Fees - GGG Partners LLC           17,092.91              0.00    17,092.91
  Other Prior Chapter Professional Expenses - GGG Partners                114.36            0.00          114.36
  LLC
  Prior Chapter Other Operating Expenses - AIG Entities              42,580.91              0.00    42,580.91
  Prior Chapter Other Operating Expenses - American                           0.00          0.00            0.00
  Millennium Insurance Company

                Total to be paid for prior chapter administrative expenses:             $           105,169.91
                Remaining balance:                                                      $            66,467.91

             In addition to the expenses of administration listed above as may be allowed by the Court,
    priority claims totaling $55,383.49 must be paid in advance of any dividend to general (unsecured)
    creditors.
             Allowed priority claims are:
  Claim    Claimant                             Allowed Amount       Interim Payments                Proposed
  No.                                                  of Claim                to Date                Payment
  1-1      INTERNAL REVENUE                                 0.00                     0.00                   0.00
           SERVICE




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  Claim      Claimant                               Allowed Amount        Interim Payments                Proposed
  No.                                                      of Claim                 to Date                Payment
  1-2        INTERNAL REVENUE                                   0.00                     0.00                   0.00
             SERVICE
  4-1P       Texas Comptroller of Public                        0.00                     0.00                   0.00
             Accounts
  4-2P       Texas Comptroller of Public                    7,579.45                     0.00              7,579.45
             Accounts c/o Office of the
             Attorney General
  5-1        Texas Comptroller of Public                        0.00                     0.00                   0.00
             Accounts
  5-2        Texas Comptroller of Public                  47,804.04                      0.00             47,804.04
             Accounts

                                                 Total to be paid for priority claims:     $               55,383.49
                                                 Remaining balance:                        $               11,084.42

              The actual distribution to wage claimants included above, if any, will be the proposed
      payment less applicable withholding taxes (which will be remitted to the appropriate taxing
      authorities).
              Timely claims of general (unsecured) creditors totaling $10,661,078.48 have been allowed
      and will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
      The timely allowed general (unsecured) dividend is anticipated to be 0.1 percent, plus interest (if
      applicable).
             Timely allowed general (unsecured) claims are as follows:
  Claim      Claimant                               Allowed Amount        Interim Payments                Proposed
  No.                                                      of Claim                 to Date                Payment
  Ch11AD Americomp Benefits Inc.                                0.00                     0.00                   0.00
  M1
  Ch11AD Risk Placement Services Inc.                           0.00                     0.00                   0.00
  M5
  2          Acadia Coffee Service, Inc.                      305.11                     0.00                   0.32
  3          CIT Bank NA                                    2,275.88                     0.00                   2.37
  4-1U       Texas Comptroller of Public                        0.00                     0.00                   0.00
             Accounts
  6-1        Rich Insruance Services Inc.                       0.00                     0.00                   0.00
  6-2        Rich Insruance Services Inc.                   1,938.60                     0.00                   2.02
  7          Thomas Reuters GRC Inc.                        1,395.00                     0.00                   1.45
  8          Seneca Crum Forster                         204,654.54                      0.00                212.78
             Insurance Company
  9          Synovus Bank                                   8,823.45                     0.00                   9.17




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  Claim   Claimant                            Allowed Amount    Interim Payments      Proposed
  No.                                                of Claim             to Date      Payment
  10      Risk Placement Services, Inc.            52,000.00                0.00         54.06
  11      AmeriComp Benefits, Inc.                  4,369.34                0.00          4.54
  12      Transport Services Group,                   623.79                0.00          0.65
          LLC
  13      Professional Safety                      14,726.33                0.00         15.31
          Consulting, Inc
  14      American Southern Insurance             345,025.60                0.00        358.73
          Company
  15      Prosight Specialty                    5,223,997.53                0.00      5,431.44
          Management Company Inc.
          and New York Marine
  16      IPFS                                          0.00                0.00          0.00
  17      Colonial Insurance Services,            115,266.67                0.00        119.84
          LLC
  18      Colonial Insurance Services,            123,595.83                0.00        128.50
          LLC
  19      Illinois National Insurance             138,184.00                0.00        143.67
          Company
  20      Umana Trucking, LLC                      34,737.00                0.00         36.12
  21      American Millennium                   1,127,522.73                0.00      1,172.30
          Insurance Company
  22      US Premium Finance, A                 1,081,105.04                0.00      1,124.03
          Division of Ameris Bank
  23      The Hays Group, Inc.                     40,000.00                0.00         41.59
  24      American Inter-Fidelity                 645,472.92                0.00        671.10
          Exchange
  25      ACE American Insurance                  126,629.44                0.00        131.66
          Company
  26      ACE Fire Underwriters                         0.00                0.00          0.00
          Insurance Company
  27      ACE Property and Casualty                     0.00                0.00          0.00
          Insurance Company
  28      Bankers Standard Insurance                    0.00                0.00          0.00
          Company
  29      Chubb Custom Insurance                        0.00                0.00          0.00
          Company
  30      Chubb Indemnity Insurance                     0.00                0.00          0.00
          Company




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  Claim   Claimant                            Allowed Amount       Interim Payments      Proposed
  No.                                                of Claim                to Date      Payment
  31      Chubb National Insurance                        0.00                 0.00          0.00
          Company
  32      Executive Risk Indemnity Inc.                   0.00                 0.00          0.00
  33      Executive Risk Specialty                        0.00                 0.00          0.00
          Insurance Company
  34      Federal Insurance Company                       0.00                 0.00          0.00
  35      Great Northern Insurance                        0.00                 0.00          0.00
          Company
  36      Indemnity Insurance                             0.00                 0.00          0.00
          Company of North America
  37      Illinois Union Insurance                        0.00                 0.00          0.00
          Company
  38      Insurance Company of North                      0.00                 0.00          0.00
          America
  39      Pacific Employers Insurance                     0.00                 0.00          0.00
          Company
  40      Pacific Indemnity Company                       0.00                 0.00          0.00
  41      Vigilant Insurance Company                      0.00                 0.00          0.00
          c/o Wendy M. Simkulak
          Duane Morris LLP
  42      Westchester Fire Insurance                      0.00                 0.00          0.00
          Company c/o Wendy M.
          Simkulak Duane Morris LLP
  43      Westchester Surplus Lines                       0.00                 0.00          0.00
          Insurance Company c/o
          Wendy M. Simkulak Duane
          Morris LLP
  44      Tyser&Co Ltd on behalf of                798,433.84                  0.00        830.14
          certain underwriters etc
          Simon Palmer Interim Risk &
          Compliance Director, Tyser
  45-1    Brit UW Limited                                 0.00                 0.00          0.00
  45-2    Brit UW Limited                          456,000.66                  0.00        474.11
  47      gotoPremium Finance                       39,657.73                  0.00         41.23
  51      AFCO Credit Corporation                   74,337.45                  0.00         77.29

                 Total to be paid for timely general unsecured claims:            $      11,084.42
                 Remaining balance:                                               $           0.00




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               Tardily filed claims of general (unsecured) creditors totaling $68,149.78 have been allowed
       and will be paid pro rata only after all allowed administrative, priority and timely filed general
       (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0
       percent, plus interest (if applicable).
              Tardily filed general (unsecured) claims are as follows:
  Claim       Claimant                             Allowed Amount        Interim Payments              Proposed
  No.                                                     of Claim                 to Date              Payment
  Ch11AD Triumph Insurance Group,                        18,247.20                    0.00                     0.00
  M2     Inc.
  48          Farit Logistics LLC                          6,122.13                   0.00                     0.00
  49          Jones Truck Insurance                      36,347.00                    0.00                     0.00
              Agency, Inc
  50          IMAN Carriers, Inc.                          7,433.45                   0.00                     0.00

                     Total to be paid for tardily filed general unsecured claims:        $                      0.00
                     Remaining balance:                                                  $                      0.00

                Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
       ordered subordinated by the Court totaling $247.50 have been allowed and will be paid pro rata only
       after all allowed administrative, priority and general (unsecured) claims have been paid in full. The
       dividend for subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if
       applicable).
                Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
       ordered subordinated by the Court are as follows:

  Claim       Claimant                             Allowed Amount        Interim Payments              Proposed
  No.                                                     of Claim                 to Date              Payment
  4-2U        Texas Comptroller of Public                    247.50                   0.00                     0.00
              Accounts c/o Office of the
              Attorney General

                                              Total to be paid for subordinated claims: $                       0.00
                                              Remaining balance:                        $                       0.00




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                                               Prepared By: /s/ S. Gregory Hays
                                                                         Chapter 7 Trustee
    S. Gregory Hays
    2964 Peachtree Road, NW, Ste. 555
    Atlanta, GA 30305
    (404) 926-0060




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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